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                          IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO

MAX ORTEGA III,

             Plaintiff,

                                                              Case No: 1:21-cv-00728 RB-JHR
WILLIAM EDGMAN,
LOUISE LOPEZ,
NEW MEXICO CORRECTIONS
DEPARTMENT, and DOES (1-50),

             Defendants.

                                  CERTIFICATE OF SERVICE

       It is hereby certified that a true and correct copy of Defendant Luis Lopez’s Answers and

Objections to Plaintiff’s First Set of Interrogatories and Defendant Luis Lopez’s Responses and

Objections to Plaintiff’s First Set of Requests for Production, and corresponding exhibits bates

numbered NMCD_01563 to NMCD_01564 were served, along with a copy of this Certificate of

Service, to the following via electronic mail, this 21st day of July, 2022:

       Todd J. Bullion
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       Albuquerque, NM 87102
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—and —




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    The documents produced are also intended to supplement Defendant Luis Lopez’s Initial

Disclosures.




                                        Respectfully Submitted,


                                        SUTIN, THAYER & BROWNE

                                        By:       /s/ Mariposa Padilla Sivage
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